                                                                                      Case 8:25-cr-00006-LKG                                      Document 40-1                  Filed 02/10/25                 Page 1 of 4

This file contains a list of all transfer outputs of the cluster identified by the following cluster ID:
                                                       935B
The cluster is also known by the following name:



Each line represents a transfer output which is either sent to the cluster or received by the cluster.

Columns:
Hash: The 32 byte hash of the transfer that contains the output.
Date: The date when the transfer was confirmed.
Receiving Address: If the output is received by this cluster then this will be the address in the cluster that received payment.
Counterparty Address: If the output is sent by this cluster then this will be the address in the peer cluster that payment was sent to.
Counterparty Cluster Name: The name of the peer cluster if it has been given a name.
Counterparty Category: The category of the peer cluster if it has a category.
Counterparty Shared Name: The shared name of the peer cluster if it has been given a shared name.
Value: The approximate values.
USD value: The approximated USD value converted by using daily average prices. 0 if the price is unknown.

Hash                                                                                                       Date               Receiving Address           Counterparty Address          Counterparty Cluster Name   Counterparty Shared Name   Counterparty Category   Value            USD Value
                                                                                                             11/14/2022 8:54                       935B                                                                                        exchange                     45,300.00        45,243.39
                                                                                                            11/20/2022 10:37
                                                                                                            11/23/2022 10:44
                                                                                                            11/23/2022 12:22
                                                                                                             11/27/2022 5:28
                                                                                                             12/2/2022 12:04
                                                                                                            12/13/2022 15:38
                                                                                                             12/16/2022 9:59
                                                                                                            12/16/2022 10:00
                                                                                                            12/16/2022 10:02
                                                                                                            12/16/2022 20:52
                                                                                                                3/2/2023 9:40
                                                                                                              3/2/2023 10:40
                                                                                                              3/2/2023 14:40
                                                                                                              3/2/2023 14:41
                                                                                                              3/2/2023 14:43
                                                                                                              3/2/2023 14:44
                                                                                                             3/11/2023 11:47
                                                                                                             3/11/2023 12:21
                                                                                                             3/11/2023 13:04
                                                                                                              3/15/2023 4:53
                                                                                                              3/15/2023 4:54
                                                                                                              3/15/2023 4:57
                                                                                                             3/15/2023 14:52
                                                                                                             3/15/2023 14:53
                                                                                                             3/15/2023 14:56
                                                                                                             3/15/2023 15:00
                                                                                                             3/15/2023 15:01
                                                                                                             3/15/2023 15:01
                                                                                                             3/20/2023 18:33
                                                                                                             3/20/2023 18:34
                                                                                                             3/20/2023 18:36
                                                                                                              3/23/2023 6:36
                                                                                                              3/23/2023 6:37
                                                                                                              3/23/2023 6:37
                                                                                                              3/24/2023 6:51
                                                                                                              3/24/2023 6:51
                                                                                                              3/24/2023 6:53
                                                                                                              3/26/2023 6:36
                                                                                                              3/26/2023 6:36
                                                                                                              3/26/2023 6:39
                                                                                                              4/10/2023 4:11
                                                                                                              4/10/2023 4:15
                                                                                                              4/10/2023 4:22
                                                                                                             4/27/2023 10:49
                                                                                                              4/28/2023 4:10
                                                                                                              4/28/2023 4:14
                                                                                                              4/28/2023 4:14
                                                                                                             4/29/2023 12:31
                                                                                                                5/1/2023 1:03
                                                                                                                5/1/2023 5:53
                                                                                                              5/2/2023 12:28
                                                                                                                5/9/2023 8:32
                                                                                                              5/9/2023 16:20
                                                                                                             5/15/2023 10:13
                                                                                                             5/15/2023 10:33
                                                                                                             5/15/2023 10:35
                                                                                                             5/15/2023 10:39
                                                                                                             5/15/2023 10:42
                                                                                                             5/18/2023 17:49




                                                                                                                                                                                                                                               Exhibit 1.a
Case 8:25-cr-00006-LKG   Document 40-1   Filed 02/10/25   Page 2 of 4

      5/18/2023 18:29
      5/21/2023 13:23
      5/21/2023 13:36
      5/21/2023 14:06
      5/21/2023 14:08
      5/21/2023 14:18
       5/24/2023 1:42
       5/24/2023 1:46
       5/24/2023 9:36
       5/24/2023 9:38
       5/31/2023 0:58
       5/31/2023 1:25
      6/14/2023 10:41
      6/14/2023 10:43
      6/14/2023 10:47
      6/14/2023 10:48
       6/15/2023 4:03
       6/17/2023 5:02
       6/26/2023 3:05
       6/26/2023 3:09
        7/3/2023 8:16
        7/3/2023 8:20
        7/3/2023 8:22
      7/11/2023 12:44
      7/11/2023 12:47
       7/14/2023 8:23
       7/14/2023 8:24
       7/16/2023 8:14
       7/16/2023 8:26
       7/16/2023 8:31
       7/16/2023 8:31
       7/16/2023 8:49
       7/16/2023 8:49
       7/16/2023 8:58
       7/16/2023 8:58
       7/16/2023 8:59
       7/16/2023 8:59
       7/16/2023 8:59
       7/16/2023 9:00
       7/16/2023 9:22
       7/16/2023 9:22
       7/16/2023 9:32
       7/16/2023 9:32
      7/16/2023 10:07
      7/16/2023 10:08
      7/16/2023 10:21
      7/16/2023 10:21
      7/16/2023 10:31
      7/16/2023 10:32
       7/20/2023 7:19
       7/20/2023 7:20
       7/20/2023 7:20
      7/28/2023 10:07
      7/28/2023 10:08
      7/28/2023 14:11
      7/28/2023 14:14
      7/29/2023 20:42
      8/14/2023 20:15
      8/14/2023 20:21
      8/14/2023 20:21
      8/14/2023 20:58
      8/14/2023 21:53
      8/14/2023 21:54
      8/15/2023 11:36
      8/15/2023 12:33
      8/15/2023 12:34
      8/15/2023 12:34
       8/22/2023 1:57
       8/22/2023 2:04
       8/22/2023 9:27
       8/22/2023 9:28
       9/2/2023 16:35
        9/6/2023 8:08
        9/6/2023 8:31
       9/7/2023 12:31
       9/20/2023 1:21
      10/8/2023 13:28
      10/8/2023 13:34
      10/8/2023 13:41
Case 8:25-cr-00006-LKG   Document 40-1   Filed 02/10/25   Page 3 of 4

      10/8/2023 14:57
       10/9/2023 7:24
        1/8/2024 7:40
      1/11/2024 18:51
        2/1/2024 6:18
        2/2/2024 6:43
       3/25/2024 8:15
       3/25/2024 8:54
       3/25/2024 9:12
       3/25/2024 9:24
       3/25/2024 9:45
       3/25/2024 9:46
       3/25/2024 9:46
      3/25/2024 10:14
      3/25/2024 12:35
      3/25/2024 12:36
      3/25/2024 15:48
      3/25/2024 15:58
      3/25/2024 16:21
       3/27/2024 5:22
       4/26/2024 9:47
      4/26/2024 10:13
      4/28/2024 10:49
       4/30/2024 7:29
        5/6/2024 4:23
        5/6/2024 5:19
       5/8/2024 12:22
       5/10/2024 4:58
       5/25/2024 9:03
      5/25/2024 11:05
      5/26/2024 12:04
      5/26/2024 12:05
      5/30/2024 17:20
      5/30/2024 17:21
      5/30/2024 17:40
        6/5/2024 3:05
        6/6/2024 5:09
      6/19/2024 13:13
      6/19/2024 13:14
      6/19/2024 18:58
      6/19/2024 19:02
      6/30/2024 15:54
       7/17/2024 8:56
      7/17/2024 13:52
      7/17/2024 19:22
      7/19/2024 14:09
      7/26/2024 17:48
      7/30/2024 15:30
      7/30/2024 15:47
      7/30/2024 15:53
       8/5/2024 13:09
      8/12/2024 17:20
      8/13/2024 17:45
       8/14/2024 4:06
       8/15/2024 9:19
       8/15/2024 9:31
       8/15/2024 9:37
       9/4/2024 12:58
       9/6/2024 23:29
        9/7/2024 2:40
       9/7/2024 11:35
       9/7/2024 19:43
       9/12/2024 0:37
       9/14/2024 2:23
      9/14/2024 21:59
       9/15/2024 0:31
       9/15/2024 4:37
      9/15/2024 13:56
      9/15/2024 20:59
      9/15/2024 23:50
      9/23/2024 10:50
      9/23/2024 11:06
      9/23/2024 11:08
       9/27/2024 6:07
      10/9/2024 13:13
      10/17/2024 8:56
      10/22/2024 5:57
      10/23/2024 1:06
      10/25/2024 3:43
                   Case 8:25-cr-00006-LKG    Document 40-1   Filed 02/10/25   Page 4 of 4




                            2/4/2025 12:02    935B                                                  10.00            10.01
                            2/4/2025 15:28    935B                                           7,999,990.00     8,006,878.06
                            2/4/2025 16:18                                                  (3,000,000.00)   (3,002,014.63)
                            2/4/2025 16:19    935B                                                   0.01             0.01
                            2/4/2025 18:25    935B                                                   0.01             0.01
                             2/7/2025 4:41                                                  (3,000,000.00)   (3,000,560.18)
                             2/7/2025 4:42    935B                                                   0.02             0.02
                             2/7/2025 4:47    935B                                                   0.01             0.01

Total transfers:
                      233
